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     Deputy Chiefs
 2   THOMAS B. W. HALL
     Trial Attorney
 3   Fraud Section, Criminal Division
     U.S. Department of Justice
 4   1400 New York Avenue, NW
     Washington, DC 20530
 5   (202) 616-1682
 6
                         UNITED STATES DISTRICT COURT
 7
                              DISTRICT OF NEVADA
 8                                   -oOo-
 9   UNITED STATES OF AMERICA,                    )
                                                  )
10                                                )
                    Plaintiff,                    )
11                                                )
12                  v.                            )       CASE NO. 2:12-CR-113-JCM-VCF
                                                  )
13                                                )
     ROBERT BOLTEN                                )       UNOPPOSED MOTION TO
14                                                )       CONTINUE SENTENCING
                    Defendant.                    )
15                                                )
                                                  )
16

17
            COMES NOW, the United States of America, by and through JEFFREY H. KNOX,
18
     Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and THOMAS B.W.
19
     HALL, Trial Attorney, U.S. Department of Justice, Criminal Division, Fraud Section, and moves
20
     to continue the sentencing hearing presently set for August 27, 2013, at the hour of 1:30 pm.
21
            The parties respectfully request this Honorable Court to continue the Sentencing Hearing
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     until at least May 1, 2014 to allow time for the defendant to complete his cooperation or, in the
23
     alternative, to continue the Sentencing Hearing and set a status conference before that date to
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     report to the Court on the on-going investigation and the defendant’s cooperation in connection
25
     with the investigation.
26
            This is the second request for a continuance of this Sentencing date.




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 1              Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following
 2   reasons:
 3              1. The defendant has entered a plea agreement with the United States that requires the
 4   defendant to cooperate with the United States in connection with its on-going investigation of a
 5   fraudulent scheme involving Las Vegas Home Owners Associations. The defendant has begun to
 6   cooperate with the United States in this investigation, which involves a number of potential co-
 7   conspirators and targets.
 8              2. The defendant’s Plea Agreement afford the defendant potential consideration for
 9   downward departures at the time of sentencing if the defendant has provided substantial
10   assistance to the United States, including the possibility of a United States Sentencing Guideline
11   (U.S.S.G.) § 5K1.1 Motion.
12              3. The United States anticipates future pleas, indictments and the possibility of one or
13   more trials of co-conspirators and targets. These events may allow the defendant the opportunity
14
     to provide further cooperation as a witness, including the possibility of testifying at trial.
15
     Specifically, trial is set for March 3, 2014 for eleven co-defendants in United States v. Benzer et
16
     al., Case No. 2:13-cr-00018-JCM-GWF (Doc. No. 96.). However, the United States expects the
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     resolution of such cases, including any trials in any related cases, to be at least 8 months from the
18
     defendant’s current sentencing date.
19
                4. Counsel for the United States has spoken with counsel for the defendant and counsel
20
     has agreed that the requested continuance is in the best interest of justice, and counsel does not
21
     oppose the continuance sought herein. The defendant is not in custody.
22
                5. Denial of this request for continuance would deny the parties sufficient time and
23
     opportunity to develop the defendant’s cooperation against the related co-conspirators and
24
     targets and prepare related cases for prosecution.
25
                6. Furthermore, denial of this request for continuance could result in a miscarriage of
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     justice.



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 1          7. The United States also requests an order to exclude the additional time requested by
 2   this continuance in computing the time within which the trial herein must commence pursuant to
 3   the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A), when considering the
 4   factors under Title 18, United States Code, Section 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv).
 5

 6          DATED this 19th day of June 2013.
 7                                                       Respectfully submitted,
 8
                                                         JEFFREY H. KNOX
 9                                                       Chief, U.S. Department of Justice
                                                         Fraud Section, Criminal Division
10
                                                         /s/ Thomas B.W. Hall
11                                                       THOMAS B.W. HALL
12                                                       Trial Attorney, U.S. Dept. of Justice
                                                         Criminal Division, Fraud Section
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 1                      UNITED STATES DISTRICT COURT
 2                           DISTRICT OF NEVADA
                                    -oOo-
 3
     UNITED STATES OF AMERICA,                     )
 4                                                 )
                                                   )
 5                 Plaintiff,                      )
                                                   )
 6
                   v.                              )       CASE NO. 2:12-CR-113-JCM-VCF
 7                                                 )
                                                   )
 8   ROBERT BOLTEN                                 )       PROPOSED ORDER
                                                   )
 9                 Defendant.                      )
                                                   )
10                                                 )

11

12                                        FINDINGS OF FACT

13          Based on the Government’s pending Unopposed Motion to Continue Sentencing, and

14   good cause appearing therefore, the Court hereby finds that:

15          1. The parties are in agreement to continue the Sentencing date as presently scheduled.

16          2. This Court is convinced that an adequate showing has been made that to deny this

17              request for continuance, taking into account the exercise of due diligence, would deny

18              the United States sufficient time to be able to effectively prepare for the co-

19              conspirator and target trials and would bar the defendant from the opportunity to

20              cooperate and potentially receive downward departures at the time of sentencing. This

21              decision is based on the following findings:

22                 a. The defendant agreed in his plea agreements to cooperate against his

23                      coconspirators in any related indictments and trials.

24                 b. The United States agreed to consider downward sentencing concessions for

25                      the defendant’s cooperation, including possible U.S.S.G. 5K1.1 Motions if
26                      substantial assistance resulted from such cooperation.




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 1                  c. The United States anticipates several additional pleas, indictments and trials in
 2                      related cases, but not sooner than 8 months from now. Specifically, the
 3                      defendant may be called to testify in United States v. Benzer et al., Case No.
 4                      2:13-cr-00018-JCM-GWF.
 5                  d. The parties need additional time to prepare the defendant’s cooperation
 6                      against other co-conspirators and targets.
 7                  e. The defendant does not object to the continuance.
 8                  f. The defendant is out of custody.
 9          3. For all the above-stated reasons, the ends of justice would best be served by
10              continuing the Sentencing date.
11          4. The additional time requested by this Stipulation is excludable in computing the time
12              within which the trial herein must commence pursuant to the Speedy Trial Act, 18
13              U.S.C. Section 3161(h)(8)(A), considering the factors under 18 U.S.C. Sections
14
                3161(h)(8)(B)(I) and (v).
15

16
                                                  ORDER
17
            IT IS THEREFORE ORDERED that the Sentencing date currently set for August 27,
18
     2013, is vacated and is continued. This delay is excluded from the time within which the trial
19
     must commence pursuant to the Speedy Trial Act, Title 18, United States Code, Section
20                                                                                               19
     3161(h)(7)(A). It is further ordered that the defendant’s sentencing hearing is set for May ____,
                                                                                                 5th
21
     2014, at the hour of __________
                          11:00
                          10:00      a.m., in Courtroom # __________.
                                                           6A
22

23
                    DATED June  21, 2013.
                          this _____ day of _____________, 2013.
24

25                         _________________________________
                           UNITED STATES DISTRICT JUDGE
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